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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

       Plaintiff,

vs.                                                 Case Number: 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

       Defendant.




                         NOTICE OF COMPLETION OF BRIEFING

       Pursuant to D.N.M. LR-Civ. 7.4(a), Defendant Tesla Motors, Inc. notifies the Court that

briefing is complete on Defendant Tesla Motors, Inc.’s Motion for Partial Dismissal. The entire

briefing consists of the following:

       1       Defendant Tesla Motors, Inc.’s Motion for Partial Dismissal [Doc. 14], filed
               October 16, 2012;

       2.      Plaintiff’s Response to Defendant’s Motion to Dismiss and Memorandum of
               Points and Authorities in Support [Doc. 15], filed October 29, 2012; and

       3.      Defendant Tesla Motors, Inc.’s Reply In Support of its Motion for Partial
               Dismissal [Doc. 17], filed November 15, 2012.

The briefing is now complete, and the Motion for Partial Dismissal is ready for decision.
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                                       RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.


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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 15, 2012, the foregoing Notice of

Completion of Briefing was electronically filed with the Clerk of Court using the CM/ECF

system that will send notification of such filing to all counsel of record:

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By     /s/ Andrew G Schultz                              .
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